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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                                     CASE NO.: 4:06cr48-SPM

TERRANCE OLIVER,

           Defendant.
________________________________/

                       ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, TERRANCE OLIVER, to Count One

of the indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

      DONE AND ORDERED this 11th day of April, 2007.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
